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                                              July 26, 2022                              JUl 27 2022
                                                                                   CLERK� �T�
    Clerk of the Court                                                            NORTH DIS( T OF ICT COURT
                                                                                                   CALIFORNIA
    United States District Court
    Northern District of California
    450 Golden Gate Avenue, Courtroom 12, 19th Floor
    San Francisco, California 94102

    Re:    Case 3:19-cv-03674-WHA; Fairness Hearing - comments, and related


    As an initial aside, I thank the Court for providing the public with an opportunity to comment on
    or otherwise express disagreement with the proposed settlement agreement ("Agreement"
    hereinafter), as executed by the parties in this matter, Sweet v. Cardona, Case No. 3:19-cv-03674-
    WHA.

    I, Robert M. Hensley, am writing to this Court in an effort to secure language within the Agreement
    requiring the Department of Education ("Department" hereinafter) to provide equitable protections
    and an extension of presumptive relief to those Post-Class Borrower Defense ("BD" hereinafter)




;
    applicants, such as myself. I am urging this Court to consider this correspondence as it proceeds
    with the final stages of adjudicating the case detailed herein. The Agreement and matters detailed
    therein will impact me and my status as a Post-Class BD applicant, as I am a 2015 Graduate of
    Western State University College of Law as owned and operated by parent companies Argosy
    University and EDMC.
                                                                                     �                     �
    The Agreement, as executed on or about June 22, 2022, provides for the division of class members
    into two groups: (1) the automatic relief group, and (2) the decision group. While the Agreement
    provides for certain processes and protections for Post-Class Applicants (i.e. those individuals
    filing BD applications after the execution of said Agreement but before this Court approves the
    Agreement as being fair and reasonable), it does not provide for the equitable treatment of Post­
    Class Applicants as it relates to the presumption of certain educational institutions' misconduct. I
    refer you to the below excerpt from the parties' Joint Motion for Preliminary Settlement Approval
    (ECF No. 246) for specific language on the distinction between the two groups.

           The Agreement provides for automatic relief-federal loan discharges, refunds of
           amounts paid to the Department, and credit repair ("Full Settlement Relief'')-for
           approximately 75% of the class. This up-front relief will go to the approximately
           200,000 Class Members who borrowed to attend one (or more) of a specified list
           of schools. The Department has determined that attendance at one of these
           schools justifies presumptive relief, for purposes of this settlement, based on
           strong indicia regarding substantial misconduct by listed schools, whether
           credibly alleged or in some instances proven, and the high rate of class members
           with applications related to the listed schools. The list of schools is appended
           hereto as Exhibit C to the Agreement.
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       The remaining 25% of the class, consisting of approximately 68,000 borrowers who
       took out loans for schools that are 71ot on the attached list, will receivefinal written
       decisions on their BD applications within specified periods of time, correlating to
       how long they have already been waiting. The longest-pending applications will
       receive a decision within six months of the Effective Date of the Agreementl; the
       most recent applications will receive a decision within 30 months after the Effective
               f
       Date. I the Department fails to provide a written decision within the specified tirrie
       period, the Class Member will automatically receive Full Settlement Relief

(Joint Motion for Preliminary Settlement Approval, 3:5-20.)

Because "[t]he Department has determined that attendance at one of these schools justifies
presumptive relief, for purposes of this settlement, based on strong indicia regarding substantial
misconduct by listed schools, whether credibly alleged or in some instances proven, and the high
rate of class members with applications related to the listed schools[,]" the Department must be
bound to fair and reasonable terms extending this presumption to the Post-Class Applicants
seeking relief from loans from any and all of the schools listed in the Agreement's "Exhibit C",
including but not limited to EDMC, Argosy University, and Western State University College of
Law. (The list of schools is appended as Exhibit C to the Agreement.)

The Agreement must treat all Class Members and Post-Class Members fairly and equitably, taking
into account not only the differences in claims, but also the significant and substantial similarities •
in claims premised on the fundamental information and belief rendering many Post-Class
applications ripe for presumptive relief. The executed Agreement does not explicitly provide for
this equitable treatment of Post-Class Applicants despite the fact that the Department has identified
common evidence of institutional misconduct by the schools, programs, and school groups
identified in Exhibit C to the Agreement. Because of this, the Department has already determined
that every Class Member whose Relevant Loan Debt is associated with those schools should be
provided presumptive relief under the settlement due to strong indicia regarding substantial
misconduct by the listed schools, whether credibly alleged or in some instances proven, and the
high rate of class members with applications related to the listed schools. This determination and
the previously mentioned schools' misconduct must be extended to Post-Class Applicants to afford
equitable and timely relief as many, such as myself, continue to be encumbered by the products of
said misconduct (e.g., credit report/scores impacting ability to secure employment, mortgages,
etc.).

In light of this, and in the interest of fairness to impacted borrowers, I respectfully request this
Court provides guidance, whether by means of imploring the Parties to execute an amended
Agreement or any other action or authority available to the Court, requiring the Department to
divide Post-Class Applicants into two groups (i.e., the decision group versus the automatic relief
group) no differently than its executed Settlement Agreement treats Class Members. This
difference in treatment is justified because the Department has determined, based on the evidence
in its possession, that it still needs to make individualized determinations of entitlement to relief
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for all members of the decision group. This is not true for those BD applicants (post-class or
otherwise) seeking relief from schools, appearing on the Agreement's "Exhibit C". No
determination ought to occur for Post-Class applicants seeking relief from repayment of federal
education loans that, ultimately, lined the pockets of known institutional wrongdoers, including
Western State University College of Law and Argosy University.

I invite this Court, its agents, and any other relevant stakeholders to reach out should you have any
questions or concerns regarding this letter or the matters detailed herein.

                                                   Respectfully,



                                                   Robert M. Hensley
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                                                   rob.hens@gmail.com




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